        Case 1:25-cv-01107-LLA          Document 207     Filed 06/27/25      Page 1 of 5




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 SUSMAN GODFREY LLP,

                 Plaintiff,

         v.
                                                       Civil Action No. 25 - 1107 (LLA)
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

                 Defendants.



                                            ORDER

        Upon consideration of Defendants’ Motion to Dismiss, ECF No. 180; Plaintiff’s Motion

for Summary Judgment, ECF No. 181; and the entire record herein; and for the reasons set forth

in the accompanying Memorandum Opinion, it is hereby

        ORDERED that Defendants’ Motion to Dismiss, ECF No. 180, is DENIED. It is further

        ORDERED that Plaintiff’s Motion for Summary Judgment, ECF No. 181, is GRANTED,

and judgment is entered for Plaintiff on Counts I through IV and VI through IX of the Amended

Complaint, ECF No. 178. It is further

        DECLARED that Executive Order No. 14,263, 90 Fed. Reg. 15615 (Apr. 15, 2025),

entitled “Addressing Risks from Susman Godfrey,” is unconstitutional and therefore null and void.

It is further

        ORDERED that:

        (1)     Defendants, departments, agencies, and other entities subject to Executive

Order 14,263, as well as their officers, agents, servants, employees, and attorneys, are

PERMANENTLY ENJOINED from implementing, enforcing, or giving effect to Executive
       Case 1:25-cv-01107-LLA           Document 207        Filed 06/27/25       Page 2 of 5




Order 14,263 in any way;

       (2)     Defendants, departments, agencies, and other entities subject to Executive

Order 14,263, as well as their officers, agents, servants, employees, and attorneys, are

PERMANENTLY ENJOINED from relying on or using in any way or for any purpose, or

otherwise taking any action based upon, the statements laid out in Section 1 of Executive

Order 14,263, including but not limited to in any interactions with Plaintiff, Plaintiff’s clients, or

government contractors; or with employees or other personnel of Plaintiff, Plaintiff’s clients, or

government contractors;

       (3)     Defendants U.S. Department of Justice and Pamela Bondi, in her official capacity

as U.S. Attorney General, are DIRECTED to:

               (a)     provide a copy of this Order to all Defendants, departments, agencies, and

       other entities subject to Executive Order 14,263; any other departments, agencies, and

       entities that received Executive Order 14,263 or guidance related to Executive

       Order 14,263; and the respective officers, staff, employees, and independent contractors of

       any of the foregoing;

               (b)     direct the recipients to comply with the terms of this Order;

               (c)     notify all recipients that they are bound by the court’s order, under penalty

       of contempt; and

               (d)     provide counsel for Plaintiff with a copy of such communication(s);

       (4)     Defendants, departments, agencies, and other entities subject to Executive

Order 14,263, as well as their officers, agents, servants, employees, and attorneys, are

DIRECTED to rescind all formal or informal guidance or other direction provided to officers,

staff, employees, or contractors of the federal government to communicate, effectuate, implement,




                                                  2
       Case 1:25-cv-01107-LLA          Document 207        Filed 06/27/25      Page 3 of 5




or enforce Executive Order 14,263, including Sections 2 and 4 that were not subject to this court’s

Temporary Restraining Order, ECF No. 15;

       (5)      Defendants, departments, agencies, and other entities subject to Executive

Order 14,263, as well as their officers, agents, servants, employees, and attorneys, are

DIRECTED to immediately notify all officers, staff, employees, and contractors subject to

Executive Order 14,263 that Executive Order 14,263 is unlawful, null and void in its entirety and

therefore should be disregarded, including all prior formal or informal advice, opinions, or

direction previously received or communicated to effectuate, implement, or enforce Executive

Order 14,263, and that all departments, agencies, officers, staff, employees, and contractors of the

federal government should carry on with their ordinary course of business with Susman Godfrey

LLP, 1 its personnel, its clients, and its clients’ personnel known or believed by them to be

associated with Susman Godfrey LLP, as if Executive Order 14,263 had not issued;

       (6)      Defendants, departments, agencies, and other entities subject to Executive

Order 14,263, as well as their officers, agents, servants, employees, and attorneys, are

DIRECTED to immediately (a) communicate to every recipient of a formal or informal request

for disclosure of any relationship with Susman Godfrey LLP or any person associated with the

firm, made pursuant to Section 3(a) of Executive Order 14,263, that such request is permanently

rescinded; and (b) cease making such requests for disclosure, pursuant to Section 3(a) of Executive

Order 14,263;

       (7)      Defendants, departments, agencies, and other entities subject to Executive

Order 14,263, as well as their officers, agents, servants, employees, and attorneys, are




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 For purposes of this Order, Susman Godfrey LLP includes any affiliates, predecessors,
successors, assigns, directors, officers, partners, employees, and agents.


                                                 3
       Case 1:25-cv-01107-LLA         Document 207        Filed 06/27/25     Page 4 of 5




DIRECTED to cease any security clearance review, made pursuant to Sections 1 or 2(a) of

Executive Order 14,263, and to reverse any suspension or revocation of any active security

clearances, made pursuant to Sections 1 or 2(a) of Executive Order 14,263;

       (8)     Defendants the Office of Management and Budget and Russell Vought, in his

official capacity as director of the Office of Management and Budget, are DIRECTED to identify

all government goods, property, material, and services, provided for the benefit of Susman Godfrey

LLP, that were previously identified pursuant to Section 2(b) of Executive Order 14,263, and to

immediately issue direction to the relevant heads of agencies and departments that they are to

reverse any cessation of the provision of such material or services, if such cessation was done

pursuant to Executive Order 14,263;

       (9)     Defendants U.S. Department of Justice; Pamela Bondi in her official capacity as

U.S. Attorney General; Equal Employment Opportunity Commission; and Andrea R. Lucas, in her

official capacity as Acting Chair of the Equal Employment Opportunity Commission, are

DIRECTED to immediately cease any investigation of Susman Godfrey LLP made pursuant to

Section 4 of Executive Order 14,263, and to withdraw any requests for information from Susman

Godfrey LLP or other investigative steps made pursuant to Section 4 of Executive Order 14,263;

       (10)    Defendants, departments, agencies, and other entities subject to Executive

Order 14,263, as well as their officers, agents, servants, employees, and attorneys, are ORDERED

that they must act in good faith to take such other steps as are necessary to prevent the

implementation or enforcement of Executive Order 14,263 and to reverse any implementation or

enforcement of Executive Order 14,263 that has occurred or is occurring; and

       (11)    Defendants are ORDERED to file a status report within two business days of this

Order describing the steps taken to ensure compliance with this Order and certifying compliance




                                                4
       Case 1:25-cv-01107-LLA              Document 207    Filed 06/27/25      Page 5 of 5




with its requirements; and it is further

       (12)    ORDERED that this court shall retain jurisdiction to enforce or modify this Order.

       This Order constitutes a final judgment of the court within the meaning of Rule 58(a) of

the Federal Rules of Civil Procedure. The Clerk of Court is directed to terminate the case.

       SO ORDERED.




                                                      LOREN L. ALIKHAN
                                                      United States District Judge
Date: June 27, 2025




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